                                UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF WASHINGTON

    In re:                                                         Chapter 11

    Refreshing USA, LLC,1                                           Case No. 24-01863-11

                                  Debtors.                          (Jointly Administered)


                 GLOBAL NOTES TO THE DEBTORS’ SCHEDULES OF
         ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

         The above-captioned debtors and debtors in possession (each, a “Debtor,” and collectively,
the “Debtors”) are filing their respective Schedules of Assets and Liabilities (collectively, the
“Schedules”) and Statements of Financial Affairs (collectively, the “Statements,” and together
with the Schedules, collectively, the “Schedules and Statements”) in the United States Bankruptcy
Court for the Eastern District of Washington (the “Court”). The Debtors, with the assistance of
their professional advisors, prepared the Schedules and Statements in accordance with section 521
of title 11 of the United States Code (the “Bankruptcy Code”) and Rule 1007 of the Federal Rules
of Bankruptcy Procedure (the “Bankruptcy Rules”).

         These notes pertain to, are incorporated by reference in, and comprise an integral part of,
all of the Schedules and Statements. These notes should be referred to as part of, and reviewed in
connection with, the Schedules and Statements.2

        The Debtors have used commercially reasonable efforts to ensure the accuracy and
completeness of the information and data used in preparing the Schedules and Statements. As
discussed further below, because of pre- and post-petition employee turnover and layoffs, the
Debtors have experienced difficulties in obtaining and verifying certain information in the Debtors
book and records and, as a result, the information contained within the Schedules and Statements
may include inadvertent errors, omissions or inaccuracies. The Debtors and their advisors continue
in their efforts to obtain and verify all information and data required for these Schedules and
Statements, and therefore reserve all rights to amend or supplement the Schedules and Statements
as may be necessary and appropriate.



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      The Debtors and debtors-in-possession in these Chapter 11 cases (“Bankruptcy Case(s)”), along with their respective
      Employer Identification Numbers, are as follows: Refreshing USA, LLC (XX-XXXXXXX) (“Refreshing”), Case
      No. 24-01863-11; Water Station Management LLC (XX-XXXXXXX) (“Water Station”), Case No. 24-01864-11; and
      Creative Technologies, LLC (XX-XXXXXXX) (“Creative” and, together with Refreshing and Water Station, “Debtors”),
      Case No. 24-01866-11. Debtors’ mailing address is: 2732 Grand Ave., Ste. 122, Everett, WA 98201.
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      These notes are in addition to any specific notes that may be contained in each of the Schedules or Statements.
      The fact that the Debtors have prepared a general note herein with respect to any of the Schedules and Statements
      and not to others should not be interpreted as a decision by the Debtors to exclude the applicability of such general
      note to the Debtors’ remaining Schedules and Statements, as appropriate.




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Basis of Presentation. The Schedules and Statements contain unaudited information that is
subject to further review and potential adjustment. The Schedules and Statements do not purport
to represent financial statements prepared in accordance with Generally Accepted Accounting
Principles in the United States (“GAAP”) and are not intended to be fully reconciled with any
financial statements or other reporting of the Debtors.

“As of” Information Date. Unless otherwise indicated herein or in the Schedules and Statements,
all financial information for Refreshing and Water Station in the Schedules and Statements and
these notes is provided as of October 2, 2024, or as close thereto as reasonably practicable under
the circumstances. Unless otherwise indicated herein or in the Schedules and Statements, all
financial information for Creative in the Schedules and Statements and these notes is provided as
of October 23, 2024, or as close thereto as reasonably practicable under the circumstances.
October 2, 2024, and October 23, 2024, are collectively referred to herein as the “Petition Dates”.

Available Information. In preparing the Schedules and Statements, the Debtors relied upon
information from their books and records available at the time of such preparation and upon the
knowledge and belief of the Debtors or their agents where appropriate. The Debtors are aware
that those books and records have not been recently maintained due to various operational and
liquidity issues, employee layoffs, and employee turnover; however, they have made reasonable
efforts to ensure the accuracy and completeness of the Schedules and Statements. For these
reasons, inadvertent omissions or inaccuracies may exist in the Schedules and Statements, and the
receipt or discovery of subsequent information may result in material changes to the Schedules
and Statements.

The Debtors include three entities that are part of a larger grouping of over 40 privately owned and
related companies that are under some or all common control. The Debtors have made reasonable
efforts to schedule all assets and liabilities which they reasonably believe they either own or owe
outright, or otherwise may plausibly have a claim to ownership or may be subject to a claim of
owing. Efforts to confirm the validity of all such claims remain ongoing and may result in material
changes to the Schedules and Statements.

The Debtors, and their employees, officers, agents, advisors and attorneys, do not guarantee or
warrant the accuracy or completeness of the data that is provided herein. The Debtors, on behalf
of themselves and their employees, officers, agents, advisors, attorneys, disclaim any liability to
any third party arising out of or related to the information contained in the Schedules and
Statements, and reserve all rights with respect thereto. The Debtors reserve all of their rights to
amend, supplement, or otherwise modify the Schedules and Statements from time to time, in all
respects, as may be necessary and appropriate. Notwithstanding the foregoing, the Debtors and
their officers, agents, attorneys, and financial advisors expressly do not undertake any obligation
to update, modify, revise, or re-categorize the information provided herein, or to notify any third
party should the information be updated, modified, revised, or re-categorized, except as expressly
required by the Bankruptcy Code.

Summary of Significant Reporting Policies. The following is a summary of certain significant
reporting policies:


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             a.     Valuation. It would be prohibitively expensive and unduly burdensome for
     the Debtors to obtain current market valuations of their assets. The Debtors do not have
     current market valuations of their equipment or estate assets. Accordingly, unless
     otherwise indicated herein or in the Schedules and Statements, the Schedules and
     Statements reflect the net book values (cost less accumulated depreciation and/or
     amortization), rather than current market values, of the Debtors’ assets as of the Petition
     Date (unless another date is indicated herein or in the Schedules and Statements) and may
     not reflect the net realizable value. Book values of assets prepared in accordance with
     GAAP generally do not, and any estimates may not, reflect the current market value of the
     assets and may differ materially from the actual value of the underlying assets.
     Accordingly, nothing in the Schedules or Statements is or shall be deemed to be an
     admission with respect to such values. The Debtors reserve the right to amend such values
     or estimates to reflect changes in underlying assumptions or the receipt of additional
     information.

             b.      Estimates and Assumptions. Because of the timing of the filings, the
     Debtors were required to make certain estimates and assumptions that may have affected
     the reported amounts of these assets and liabilities. Actual amounts may materially differ
     from those estimates. The Debtors reserve all rights to amend the reported amounts of
     assets and liabilities to reflect changes in its estimates and assumptions.

             c.      Payables, Credits and Adjustments. Claims of creditors are listed in the
     amounts recorded on the Debtors’ books and records, based on invoices received and other
     relevant documentation from or contracts with such creditors. These amounts may not
     reflect certain credits, set-offs, allowances, or other adjustments due from such creditors.

             d.     Leases. Nothing in the Schedules and Statements is, or shall be construed
     as, an admission as to the determination of the legal status of any lease, including, without
     limitation, whether any lease is a true lease or a financing arrangement, and whether such
     lease is unexpired.

            e.     Excluded Assets and Liabilities. The Debtors have excluded rejection
     damages claims of counterparties to executory contracts and unexpired leases that may (or
     may not) be rejected. In addition, certain immaterial assets and liabilities may have been
     excluded.

             f.      Executory Contracts and Unexpired Leases. Executory contracts and
     unexpired leases which the Debtors have been able to identify are set forth on Schedule G
     and are incorporated into Schedule A/B as applicable. The Schedules and Statements do
     not reflect any claims or estimates for future contract rejection damages.

             g.     Intellectual Property Rights. Exclusion of certain intellectual property
     shall not be construed to be an admission that such intellectual property rights have been
     abandoned, have been terminated, or otherwise have expired by their terms, or have been
     assigned or otherwise transferred pursuant to a sale, acquisition, or other transaction.
     Conversely, inclusion of certain intellectual property shall not be construed to be an
     admission that such intellectual property rights have not been abandoned, have not been
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       terminated, or otherwise have not expired by their terms, or have not been assigned or
       otherwise transferred pursuant to a license or other transaction. The Debtors reserve all of
       their rights with respect to the legal status of any and all intellectual property rights.

               h.      Causes of Action. Despite efforts to identify all known assets, the Debtors
       may not have listed all their causes of action or potential causes of action against insiders
       and third parties as assets in the Schedules and Statements, including, without limitation,
       causes of actions arising under the provisions of chapter 5 of the Bankruptcy Code and any
       other relevant non-bankruptcy laws to recover assets or avoid transfers. The Debtors
       reserve all rights with respect to any cause of action (including avoidance actions),
       controversy, right of setoff, cross-claim, counterclaim, or recoupment and any claim on
       contracts or for breaches of duties imposed by law or in equity, demand, right, action, lien,
       indemnity, guaranty, suit, obligation, liability, damage, judgment, account, defense, power,
       privilege, license, and franchise of any kind or character whatsoever, known, unknown,
       fixed or contingent, matured or unmatured, suspected or unsuspected, liquidated or
       unliquidated, disputed or undisputed, secured or unsecured, assertible directly or
       derivatively, whether arising before, on, or after the Petition Date, in contract or in tort, in
       law or in equity, or pursuant to any other theory of law they may have, and neither these
       notes nor the Schedules and Statements shall be deemed a waiver of any such claims or
       causes of action or in any way prejudice or impair the assertion of such claims or causes of
       action.

               i.      Fiscal Year. The Debtors’ fiscal year ends on December 31st of each year.

              j.      Confidentiality. There may be instances within the Schedules and
       Statements where names and/or addresses have been redacted or left blank out of concerns
       for confidentiality or privacy of individuals, including without limitation employee
       addresses. To the extent that certain addresses are withheld, the Debtors will make such
       addresses available upon reasonable request subject to any applicable law.

Unknown or Undetermined Amounts. Where a description of an amount is left blank or listed
as “unknown” or “undetermined,” such response is not intended to reflect upon the materiality of
such amount.

503(b)(9) Claims. The liabilities listed on the Schedules and Statements do not reflect any analysis
of any claims under section 503(b)(9) of the Bankruptcy Code.

Signature. The Schedules and Statements are signed by Brian S. Weiss, Chief Restructuring
Officer for the Debtors and an authorized signatory of the Debtors. In reviewing and signing the
Statements and Schedules, Mr. Weiss has relied upon the efforts, statements, and representations
of various personnel employed by the Debtors and their advisors. Mr. Weiss has not (and could
not have) personally verified the accuracy of each statement and representation contained in the
Statements and Schedules, including statements and representations concerning amounts owed to
creditors, classification of such amounts, and creditor addresses.

Reservation of Rights. The Debtors reserve all rights to (i) amend or supplement the Schedules
and Statements from time to time, in all respects, as may be necessary or appropriate, including,
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without limitation, the right to amend the Schedules and Statements with respect to any claim
description or designation; (ii) dispute or otherwise assert offsets or defenses to any claim reflected
in the Schedules and Statements as to amount, liability, priority, status, or classification;
(iii) subsequently designate any claim as “disputed,” “contingent,” or “unliquidated;” or object to
the extent, validity, enforceability, priority, or avoidability of any claim. Listing a claim does not
constitute an admission of liability by the Debtors against which the claim is listed. Furthermore,
nothing contained in the Schedules and Statements shall constitute a waiver of rights with respect
to the Debtors’ chapter 11 cases, including without limitation issues involving claims, substantive
consolidation, defenses, equitable subordination, and/or causes of action arising under the
provisions of chapter 5 of the Bankruptcy Code and any other relevant non-bankruptcy laws to
recover assets or avoid transfers. Any specific reservation of rights contained elsewhere in these
notes does not limit in any respect the general reservation of rights contained in this paragraph.
Notwithstanding the foregoing, the Debtors shall not be required to update the Schedules and
Statements except as may be required by the Bankruptcy Code or otherwise ordered by the Court.

Global Notes Control. In the event that the Schedules or Statements differ from any of the
foregoing notes, these notes shall control.

                NOTES FOR SCHEDULES OF ASSETS AND LIABILITIES

Schedule A/B – Assets – Cash and Cash Equivalents. With the exception of one bank account
controlled by the Receiver appointed pre-petition for these Debtors, it is understood that all bank
accounts open in the name of these Debtors at some point prior to the Petition Dates were closed
or otherwise overdrawn in advance of the Petition Dates. For this reason, only the one account
controlled by the Receiver, held in the name of Creative, is shown on Schedule A/B, Item 3. All
other bank accounts that are believed to have been open in the name of these Debtors prior to the
Petition Dates are shown on Statement 18 with estimated account closure dates.

Schedule A/B – Assets – Accounts Receivable. The majority of the accounts receivable recorded
in the Debtors’ books as of the Petition Dates are significantly aged, well in excess of 90 days in
many instances, and may therefore be largely uncollectible. Accordingly, the accounts receivable
have been reserved for in the Schedules.

Schedule A/B – Assets – Inventory. The Debtors inventory consist primarily of water stations
and related parts, and vending machines and related parts. The Debtors do not have detailed
inventory records to provide support for the amounts included in Finished Goods and Other items
recorded in their books as of the Petition Date, and it is not known if or when any inventory counts
were conducted. The Debtors have retained an asset recovery firm to assist with identifying the
Debtors’ inventory. Pending more current data becoming available, these amounts remain subject
to material revision and information related to inventory counts is shown as being “Unknown”
both on Schedule A/B, Items 21 and 22 and on Statement 27.

Schedule A/B – Assets – Real and Personal Property. All vehicles and other equipment
identified on Schedule A/B, Parts 7, 8 and 9 are listed net of depreciation and/or amortization and
do not reflect impairment reserves. The Debtors list office equipment and furniture on Schedule
A/B, Item 39; vehicles on Schedule A/B, Item 47; and vending machines, water station machines,

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and warehouse equipment on Schedule A/B, Item 50 in the amounts recorded in their books and
records. Detailed lists of vending machines, water station machines, and vehicles, that the Debtors
have identified are attached to Schedule A/B, however these lists remain subject to further
verification that such assets are owned by the Debtors as opposed to their subsidiaries, affiliated
entities, related entities, or a third party. The Debtors and their estates reserve all rights they may
have under applicable law in connection with their asserted real property lease interests.

Schedule A/B, Item 55, lists only those leases that the Debtors have identified to date. Efforts to
identify additional leases, for warehouse, office, or other potential locations, remain ongoing.

Schedule A/B – Assets – Intangibles and Intellectual Property. Certain intangibles or
intellectual property are listed on Schedule A/B, Part 10 with an unknown or undetermined amount
on account of the fact that the fair market value of such ownership is dependent on numerous
variables and factors. As mentioned above, the Debtors do not have current valuations for estate
assets, including the intangibles and intellectual property recorded in their books and records.

Schedule A/B – Assets – All Other Assets. On Schedule A/B, Item 71, the Debtors will need to
analyze and reconcile their books and records to each of their respective subsidiaries and related
entities to more accurately identify such counterparties. Pending the completion of that analysis,
the net amounts due to the Debtors from those intercompany transactions are shown in total for all
counterparties, which is how they are recorded in their books and records.

On Schedule A/B, Item 72, the Debtors are in the process of analyzing their existing tax attributes,
including potential refunds and the ability to utilize net operating losses, if any, in the future.
Pending the completion of that analysis, the current values of any such amounts are undetermined.


Known causes of action or potential causes of action against third parties are included in Schedule
A/B, Item 74. The amounts included do not include all possible actions including, but not limited
to, causes of action arising under the Bankruptcy Code or any other applicable laws (including,
but not limited to, intellectual property laws).

Schedule D – Creditors Who Have Claims Secured by Property. The Debtors have included
on Schedule D all claims they believe are secured. They have not included all parties that may
believe their claims are secured through setoff rights, deposits posted by, or on behalf of, the
Debtors, inchoate statutory lien rights, or real property lessors, utility companies or other parties
that may hold security interests.

The descriptions of claims and collateral in Schedule D are provided in summary form only.
Reference must be made to the applicable transaction documents to obtain a complete description
of the claims secured by collateral and the collateral securing such claims.

Schedule E/F – Creditors Who Have Unsecured Claims.

Part 1. Certain creditors listed on Part 1 of Schedule E/F, particularly those listed as being owed
for pre-petition payroll claims, may have already been paid some or all of the amounts owed to

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them based on a court-approved emergency payroll motion [Dkt. #148]. The Debtors are in the
process of analyzing all payroll amounts owed to their employees and former employees, including
verifying that the Debtors were the actual employer as opposed to a non-debtor subsidiaries, related
entities, and/or affiliates.

Part 2. Certain creditors listed on Part 2 of Schedule E/F may owe amounts to the Debtors;
accordingly, the Debtors and their estates may have valid setoff and recoupment rights with respect
to such amounts. Where able, the Debtors have reflected claims on Part 2 of Schedule E/F net of
deposits, retainers, and prepayments.

Schedule G – Executory Contracts and Unexpired Leases. Omission of a contract, lease or
other agreement from Schedule G does not constitute an admission that such omitted contract,
lease or agreement is not an executory contract or unexpired lease. Likewise, the listing of an
agreement on Schedule G does not constitute an admission that such agreement is an executory
contract or unexpired lease, or that such agreement was in effect or unexpired on the Petition Date
or is valid or enforceable. The agreements listed on Schedule G may have expired, or may have
been modified, amended, or supplemented from time to time by various amendments,
restatements, waivers, estoppel certificates, letters and other documents, instruments and
agreements that may not be listed on Schedule G.

                 NOTES FOR STATEMENTS OF FINANCIAL AFFAIRS

Statement 3. Statement 3 includes known disbursements or other transfers made by the Debtors
within 90 days prior to filing, except for payments on account of compensation paid to employees
in the 90 days prior to the Petition Date. Because all other bank accounts are believed to have been
closed or overdrawn approximately 90 days prior to the Petition Date, this information was
obtained from that one bank account controlled by the Receiver, as referenced above.

Statements 4 and 30. Statement 4 includes all disbursements or other transfers to Insiders made
by the Debtors within 1 year prior to filing. Because there were no such disbursements made pre-
petition from the one bank account controlled by the Receiver, this information was obtained solely
from that Debtors’ books and records, which has not been currently maintained. The Debtors will
continue to search for transactions which subsequently may need to be included on these
Statements.

Statement 8. As set out above, prior to the Petition Dates, a Receiver was appointed for Debtors.
Pursuant to the order appointing the Receiver, the Receiver was appointed as the general receiver
with respect to the management and operations of Debtors and all of their assets wherever located,
and with respect to all products and proceeds thereof, with authority to take exclusive possession
and control of the assets.

Statement 18. All bank accounts in the name of the Debtors are believed to have been closed
prior to the Petition Dates, with the exception of one account controlled by the Receiver.
Accordingly, those bank accounts believed to have been closed prior to the Petition Dates are listed
on Statement 18 with estimated account closure dates.



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Statement 26(d). From time to time, the Debtors may have provided financial statements in the
ordinary course of business to certain parties for business, statutory, credit, financing and other
reasons. Recipients may have included regulatory agencies, financial institutions, investment
banks, vendors, landlords, debtholders and their legal and financial advisors. The Debtors
currently do not have the names of these parties. Additionally, due to the confidentiality
requirements of related non-disclosure agreements, and the number of parties that have received
such statements, such parties are not listed in response to this question.

Statement 27. Due to employee layoffs and termination, the dates of when or if inventory counts
were conducted are not known.


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Fill in this information to identify the case:

Debtor name         Refreshing USA, LLC

United States Bankruptcy Court for the:    EASTERN DISTRICT OF WASHINGTON

Case number (if known)    24-01863-11
                                                                                                                              Check if this is an
                                                                                                                                 amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                             04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

      None.
      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                         Gross revenue
      which may be a calendar year                                                    Check all that apply                       (before deductions and
                                                                                                                                 exclusions)

      From the beginning of the fiscal year to filing date:                            Operating a business                                 $31,950.20
      From 1/01/2024 to Filing Date
                                                                                       Other


      For prior year:                                                                  Operating a business                              $8,916,006.06
      From 1/01/2023 to 12/31/2023
                                                                                       Other


      For year before that:                                                            Operating a business                              $7,610,300.30
      From 1/01/2022 to 12/31/2022
                                                                                       Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None.
                                                                                      Description of sources of revenue          Gross revenue from
                                                                                                                                 each source
                                                                                                                                 (before deductions and
                                                                                                                                 exclusions)

      For prior year:
      From 1/01/2023 to 12/31/2023                                                    Interest Income                                     $1,537,433.37


      For year before that:
      From 1/01/2022 to 12/31/2022                                                    Interest Income                                     $1,776,160.84


Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 1




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Debtor       Refreshing USA, LLC                                                                Case number (if known) 24-01863-11




      None.
      Creditor's Name and Address                                  Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                         Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      None.
      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.   Creative Technologies, LLC                            3/15/2024                        $25,738.54           Intercompany payments /
             2732 Grand Ave., Ste. 122                             ($241.27);                                            transfers.
             Everett, WA 98201                                     3/22/2024
             Related entity.                                       ($237.27);
                                                                   and
                                                                   3/28/2024
                                                                   ($25,260).

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

      None
      Creditor's name and address                      Describe of the Property                                        Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

      None
      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

      None.
             Case title                                Nature of case              Court or agency's name and                 Status of case
             Case number                                                           address
      7.1.   SL 21 Drink Up Holdings LLC               Breach of                   Maricopa County Superior                    Pending
             v. Creative Technologies,                 contract, breach            Court (Arizona)                             On appeal
             LLC; Refreshing USA LLC;                  of the covenant of          620 West Jackson St.
                                                                                                                               Concluded
             Ideal Property Investments;               good faith and fair         Phoenix, AZ 85003
             and Ryan Wear                             dealing, common
             CV2024-013462                             law fraud.




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 2




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Debtor       Refreshing USA, LLC                                                         Case number (if known) 24-01863-11



             Case title                        Nature of case               Court or agency's name and          Status of case
             Case number                                                    address
      7.2.   352 Capital GP LLC on behalf      Racketeering Act             US District Court (Southern          Pending
             of 352 Capital ABS Master         (RICO)                       New York)                            On appeal
             Fund LP; and Leucadia Asset                                    500 Pearl St
                                                                                                                 Concluded
             Managment, LLC v. Creative                                     New York, NY 10007
             Technologies, LLC;
             Refreshing USA, LLC; Water
             Station Management LLC;
             Ideal Property Investments;
             and Ryan Wear
             24-cv-05102-VEC

      7.3.   Alkaline Water Holdings, LLC;     Racketeering Act             US District Court (Eastern           Pending
             H2O Station Holdings, LLC;        (RICO)                       Pennsylvania)                        On appeal
             and Keystone Water                                             James A. Byrne U.S.
                                                                                                                 Concluded
             Holdings, LLC v. Creative                                      Courthouse
             Technologies, LLC;                                             601 Market Street
             Refreshing USA, LLC; Water                                     Philadelphia, PA 19106
             Station Management LLC;
             Ideal Property Investments;
             and Ryan Wear
             2:24-cv-01890-GAM

      7.4.   Dennis Demirjian v. Creative      Breach of contact.           Snohomish Cty. Superior              Pending
             Technologies, LLC;                                             Court (Washingto                     On appeal
             Refreshing USA, LLC; Water                                     3000 Rockefeller Ave
                                                                                                                 Concluded
             Station Management LLC;                                        Everett, WA 98201
             Ideal Property Investments;
             and Ryan Wear
             24-2-02346

      7.5.   Dynasty Capital v. Creative       Judgment for                 Kings Supreme Court (New             Pending
             Technologies, LLC;                $590,260.59.                 York)                                On appeal
             Refreshing USA, LLC; Water        Commericial -                360 Adams St #4
                                                                                                                 Concluded
             Station Management LLC;           contract.                    Brooklyn, NY 11201
             Ideal Property Investments;
             and Ryan Wear
             532988/2023

      7.6.   Founders Mosiac Partners;         Banking/ finance/            Hamilton Superior Court              Pending
             Tyler Sadek; and Water            confession of                (Indiana)                            On appeal
             Station Holdings, LLC v.          judgment.                    1 Hamilton County Square
                                                                                                                 Concluded
             Creative Technologies, LLC;                                    Suite 345
             Refreshing USA, LLC; Water                                     Noblesville, IN 46060
             Station Management LLC;
             Ideal Property Investments;
             and Ryan Wear
             29D04-2402-CC-001521

      7.7.   Mr. Advance LLC v. Creative       Default judgement            Kings Supreme Court (New             Pending
             Technologies, LLC;                - banking/ finance/          York)                                On appeal
             Refreshing USA, LLC; Water        confession of                360 Adams St #4
                                                                                                                 Concluded
             Station Management LLC;           judgment.                    Brooklyn, NY 11201
             Ideal Property Investments;
             and Ryan Wear
             535217/2023

      7.8.   NTMK Corp v. Water                Judgment for                 King County Superior Court           Pending
             Statement Managment LLC;          $3,167,500.                  (Washington)                         On appeal
             Creative Technolgies, LLC;                                     516 Third Avenue
                                                                                                                 Concluded
             and Refreshing USA, LLC                                        Seattle, WA 98104
             24-2-19064-3


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             Case title                          Nature of case               Court or agency's name and          Status of case
             Case number                                                      address
      7.9.   NTMK Corp v. Water                  Judgment for                 Snohomish Cty. Superior              Pending
             Statement Managment LLC;            $3,167,500.                  Court (Washingto                     On appeal
             Creative Technolgies, LLC;                                       3000 Rockefeller Ave
                                                                                                                   Concluded
             and Refreshing USA, LLC                                          Everett, WA 98201
             24-2-05611-31

      7.10 NTMK Corp v. Water                    Judgment for                 Snohomish Cty. Superior              Pending
      .    Statement Management LLC;             $3,167,500.                  Court (Washingto                     On appeal
             Creative Technolgies, LLC;                                       3000 Rockefeller Ave
                                                                                                                   Concluded
             and Refreshing USA, LLC                                          Everett, WA 98201
             23-2-07941

      7.11 Cavalry SPV I, LLC as                 Writ of                      Lee County Court (Florida)           Pending
      .    assignee of Department                garnishment /                1700 Monroe St                       On appeal
             Stores National Bank v.             Judgment.                    Fort Myers, FL 33901
                                                                                                                   Concluded
             Refreshing USA, LLC
             22-SC-005217 and
             22-SC-003937

      7.12 Novus Capital Funding II, LLC         Commercial                   Kings Supreme Court (New             Pending
      .    v. Refreshing USA, LLC                contract                     York)                                On appeal
             537777/2023                                                      360 Adams St #4
                                                                                                                   Concluded
                                                                              Brooklyn, NY 11201

      7.13 Michael J. Melton v.                  Breach of                    Cobb County (Georgia)                Pending
      .    Refreshing USA, LLC                   contract.                    70 Haynes St                         On appeal
             2024-0007170-CV                                                  Marietta, GA 30090
                                                                                                                   Concluded

      7.14 Water for Commerce Fund               Breach of                    US District Court (Kansas)           Pending
      .    Management                            agreement and                500 State Ave                        On appeal
             2:24-CV-02368                       appointment of               Kansas City, KS 66101
                                                                                                                   Concluded
                                                 receiver.

      7.15 Washington State Dept. of             Tax warrant.                 Snohomish Cty. Superior              Pending
      .    Labor & Industries v.                                              Court (Washingto                     On appeal
             Refreshing USA, LLC                                              3000 Rockefeller Ave
                                                                                                                   Concluded
             24-2-06370-31                                                    Everett, WA 98201

      7.16 Legacy Capital Income Fund            Breach of                    Montgomery Cty. Court of             Pending
      .    II LLC; Legacy Capital Income         contract.                    Common Pleas                         On appeal
             Fund III LLC; and Refreshing                                     2 E Airy St
                                                                                                                   Concluded
             Companies, LLC v.                                                Norristown, PA 19401
             Refreshing USA, LLC and
             Ryan Wear
             2024-03772

      7.17 352 Capital GP LLC v.                 Breach of                    US Dist. Court (Western              Pending
      .    Refreshing USA, LLC; Ryan             Contract.                    Washington)                          On appeal
             Wear; and Water Station             2:24-CV-01172                700 Stewart St
                                                                                                                   Concluded
             Management LLC                      (UDSC West.                  Seattle, WA 98101
             2:24-CV-01172 and                   Wash) and
             24-2-05545-31                       24-2-05545-31
                                                 (Snohomish Cty.
                                                 Superior Court)




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             Case title                               Nature of case              Court or agency's name and            Status of case
             Case number                                                          address
      7.18 Mottex Capital v. Refreshing               Breach of contract          Monroe Cty. Supreme Court              Pending
      .    USA, LLC; Creative                                                     (New York)                             On appeal
             Technologies, LLC; Water                                             99 Exchange Blvd # 545
                                                                                                                         Concluded
             Station Management LLC;                                              Rochester, NY 14614
             Ideal Property Investments;
             and Ryan WearMottex Capital
             v. v. Refreshing USA, LLC;
             Creative Technologies, LLC;
             Water Station Management
             LLC; Ideal Property
             Investments; and Ryan Wear
             E2024009388

      7.19 First Fed Bank v. Creative                 Receivership.               King County Superior Court             Pending
      .    Technologies, LLC                                                      (Washington)                           On appeal
             24-2-10753-3 SEA                                                     516 Third Avenue
                                                                                                                         Concluded
                                                                                  Seattle, WA 98104


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      None
      Custodian's name and Address                    Describe the property                                                   Value
      Eric Camm - Receiver                            TurningPointe, LLC (aka Turning Point Strategic
      TurningPointe LLC                               Advisors) was appointed general receiver of all of
      2003 Western Ave., Ste. 660                     Debtor's assets and tangible and intangible real and
      Seattle, WA 98121                               personal property pursuant to Order Granting
                                                      Motion to Amend Appointing Order and for Other
                                                      Relief.                                                                                  Unknown

                                                      Case title                                                              Court name and address
                                                      First Fed Bank v. Creative Technologies                                 King County Superior
                                                      Case number                                                             Court (Washington)
                                                      24-2-10753-3 SEA                                                        516 Third Ave.
                                                      Date of order or assignment                                             Seattle, WA 98104
                                                      8/23/2024


Part 4:     Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

      None
             Recipient's name and address             Description of the gifts or contributions                 Dates given                          Value


Part 5:     Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      None




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      Description of the property lost and             Amount of payments received for the loss                  Dates of loss            Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:     Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      None.
               Who was paid or who received               If not money, describe any property transferred              Dates                Total amount or
               the transfer?                                                                                                                         value
               Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      None.
      Name of trust or device                             Describe any property transferred                   Dates transfers               Total amount or
                                                                                                              were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      None.
             Who received transfer?                    Description of property transferred or                    Date transfer              Total amount or
             Address                                   payments received or debts paid in exchange               was made                            value

 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      Does not apply
               Address                                                                                             Dates of occupancy
                                                                                                                   From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

          No. Go to Part 9.
      Yes. Fill in the information below.

               Facility name and address               Nature of the business operation, including type of services              If debtor provides meals
                                                       the debtor provides                                                       and housing, number of
                                                                                                                                 patients in debtor’s care

Part 9:     Personally Identifiable Information

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16. Does the debtor collect and retain personally identifiable information of customers?

          No.
      Yes. State the nature of the information collected and retained.
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
      Yes. Does the debtor serve as plan administrator?

Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

      None
               Financial Institution name and          Last 4 digits of           Type of account or          Date account was                Last balance
               Address                                 account number             instrument                  closed, sold,               before closing or
                                                                                                              moved, or                            transfer
                                                                                                              transferred
      18.1.    Bank of America                         XXXX-7830                   Checking                  7/31/2024                                $0.00
                                                                                   Savings
                                                                                   Money Market
                                                                                   Brokerage
                                                                                   Other

      18.2.    Chase                                   XXXX-9779                   Checking                  7/31/2024                                $0.00
                                                                                   Savings
                                                                                   Money Market
                                                                                   Brokerage
                                                                                   Other

      18.3.    First Federal                           XXXX-2909                   Checking                  7/31/2024                                $0.00
                                                                                   Savings
                                                                                   Money Market
                                                                                   Brokerage
                                                                                   Other

      18.4.    Chase                                   XXXX-0576                   Checking                  10/31/2023                               $0.00
                                                                                   Savings
                                                                                   Money Market
                                                                                   Brokerage
                                                                                   Other

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


      None
      Depository institution name and address               Names of anyone with                  Description of the contents              Does debtor
                                                            access to it                                                                   still have it?
                                                            Address

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20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


      None
      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None

Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

          No.
      Yes. Provide details below.
      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

          No.
      Yes. Provide details below.
      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

24. Has the debtor notified any governmental unit of any release of hazardous material?

          No.
      Yes. Provide details below.
      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      None


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   Business name address                         Describe the nature of the business               Employer Identification number
                                                                                                   Do not include Social Security number or ITIN.

                                                                                                   Dates business existed
   25.1.                                         Vending machine servicer.                         EIN:
            Refreshing Arizona LLC                                                                              XX-XXXXXXX
            2732 Grand Ave., Ste. 122
            Everett, WA 98201                                                                      From-To      1/13/2023 - present.

   25.2.                                         Vending machine servicer.                         EIN:
            Refreshing California LLC                                                                           XX-XXXXXXX
            2732 Grand Ave., Ste. 122
            Everett, WA 98201                                                                      From-To      1/13/2023 - present.

   25.3.                                         Vending machine servicer.                         EIN:
            Refreshing Carolinas LLC                                                                            XX-XXXXXXX
            2732 Grand Ave., Ste. 122
            Everett, WA 98201                                                                      From-To      1/13/2023 - present.

   25.4.                                         Vending machine servicer.                         EIN:
            Refreshing Colorado LLC                                                                             XX-XXXXXXX
            2732 Grand Ave., Ste. 122
            Everett, WA 98201                                                                      From-To      1/13/2023 - present.

   25.5.                                         Vending machine servicer.                         EIN:
            Refreshing Florida LLC                                                                              XX-XXXXXXX
            2732 Grand Ave., Ste. 122
            Everett, WA 98201                                                                      From-To      1/13/2023 - present.

   25.6.                                         Vending machine servicer.                         EIN:
            Refreshing Georgia LLC                                                                              XX-XXXXXXX
            2732 Grand Ave., Ste. 122
            Everett, WA 98201                                                                      From-To      1/13/2023 - present.

   25.7.                                         Vending machine servicer.                         EIN:
            Refreshing Great Lakes LLC                                                                          XX-XXXXXXX
            2732 Grand Ave., Ste. 122
            Everett, WA 98201                                                                      From-To      1/13/2023 - present.

   25.8.                                         Vending machine servicer.                         EIN:
            Refreshing Las Vegas LLC                                                                            XX-XXXXXXX
            2732 Grand Ave., Ste. 122
            Everett, WA 98201                                                                      From-To      1/13/2023 - present.

   25.9.                                         Vending machine servicer.                         EIN:
            Refreshing Mid-Atlantic LLC                                                                         XX-XXXXXXX
            2732 Grand Ave., Ste. 122
            Everett, WA 98201                                                                      From-To      1/13/2023 - present.

   25.10                                         Vending machine servicer.                         EIN:
         Refreshing Montana LLC                                                                                 XX-XXXXXXX
   .
            2732 Grand Ave., Ste. 122
            Everett, WA 98201                                                                      From-To      1/13/2023 - present.

   25.11                                         Vending machine servicer.                         EIN:
         Refreshing New England LLC                                                                             XX-XXXXXXX
   .
            2732 Grand Ave., Ste. 122
            Everett, WA 98201                                                                      From-To      1/13/2023 - present.

   25.12                                         Vending machine servicer.                         EIN:
         Refreshing New Mexico LLC                                                                              XX-XXXXXXX
   .
            2732 Grand Ave., Ste. 122
            Everett, WA 98201                                                                      From-To      1/13/2023 - present.




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   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed
   25.13                                             Vending machine servicer.                         EIN:
         Refreshing Texas LLC                                                                                       XX-XXXXXXX
   .
            2732 Grand Ave., Ste. 122
            Everett, WA 98201                                                                          From-To      1/13/2023 - present.

   25.14                                             Vending machine servicer.                         EIN:
         Refreshing Washington LLC                                                                                  XX-XXXXXXX
   .
            2732 Grand Ave., Ste. 122
            Everett, WA 98201                                                                          From-To      1/13/2023 - present.

   25.15                                             Vending machine servicer.                         EIN:
         Refreshing DC LLC                                                                                          XX-XXXXXXX
   .
            2732 Grand Ave., Ste. 122
            Everett, WA 98201                                                                          From-To      1/13/2023 - present.

   25.16                                             Vending machine servicer.                         EIN:
         Refreshing Great Plains LLC                                                                                XX-XXXXXXX
   .
            2732 Grand Ave., Ste. 122
            Everett, WA 98201                                                                          From-To      1/13/2023 - present.


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Jeremy Briggs                                                                                                      Controller.
                    2732 Grand Ave., Ste. 122                                                                                          Inception -
                    Everett, WA 98201                                                                                                  September 2024.

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None
      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26b.1.        B F Borgers CPA PC                                                                                                 1/1/2022 - 4/4/2023.
                    5400 W. Cedar Ave.
                    Denver, CO 80226

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Ryan Wear
                    2732 Grand Ave., Ste. 122
                    Everett, WA 98201
      26c.2.        Eric Camm - Receiver
                    TurningPointe LLC
                    2003 Western Ave., Ste. 660
                    Seattle, WA 98121

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.



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           None
      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

          No
      Yes. Give the details about the two most recent inventories.
             Name of the person who supervised the taking of the                   Date of inventory        The dollar amount and basis (cost, market,
             inventory                                                                                      or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                  Address                                              Position and nature of any            % of interest, if
                                                                                                 interest                              any
      Summit Managment                      2732 Grand Ave., Ste. 122                                                                  88.9% owner
      Services LLC                          Everett, WA 98201                                                                          of Debtor.

      Name                                  Address                                              Position and nature of any            % of interest, if
                                                                                                 interest                              any
      Water Station Management              2732 Grand Ave., Ste. 122                                                                  11.1% owner
      LLC                                   Everett, WA 98201                                                                          of Debtor.

      Name                                  Address                                              Position and nature of any            % of interest, if
                                                                                                 interest                              any
      Eric Camm - Receiver                  TurningPointe LLC                                    Receiver and current
                                            2003 Western Ave., Ste. 660                          Manager. Appointed per
                                            Seattle, WA 98121                                    Court Order entered
                                                                                                 8/23/2024.
      Name                                  Address                                              Position and nature of any            % of interest, if
                                                                                                 interest                              any
      Tyler C. Sadek                        c/o Terek E. Mercho                                  Other person in control of
                                            8935 N Meridian St., Suite 112                       Debtor at time of filing of
                                            Indianapolis 42620                                   case. Alleged member
                                                                                                 (disputed).
      Name                                  Address                                              Position and nature of any            % of interest, if
                                                                                                 interest                              any
      Jeremy Briggs                         2732 Grand Ave., Ste. 122                            Former controller.
                                            Everett, WA 98201



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


      No
          Yes. Identify below.

      Name                                  Address                                              Position and nature of any        Period during which
                                                                                                 interest                          position or interest
                                                                                                                                   was held
      Ryan Wear                             2732 Grand Ave., Ste. 122                            Former CEO, member,               Replaced by Eric
                                            Everett, WA 98201                                    and former manager.               Camm as
                                                                                                                                   Receiver and
                                                                                                                                   manager per
                                                                                                                                   Court Order
                                                                                                                                   entered 8/23/2024.




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      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Richard Wear                           2732 Grand Ave., Ste. 122                           Former member and                  Replaced by Eric
                                             Everett, WA 98201                                   former manager.                    Camm as
                                                                                                                                    Receiver and
                                                                                                                                    manager per
                                                                                                                                    Court Order
                                                                                                                                    entered 8/23/2024.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

      No
          Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1                                                                                                      10/6/2023
      .                                                                                                         ($1,711.74);
                                                                                                                10/20/2023
                                                                                                                ($1,711.74);
                                                                                                                11/3/2023
                                                                                                                ($1,711.74);
                                                                                                                11/17/2023
                                                                                                                ($1,711.78);
                                                                                                                12/1/2023
                                                                                                                ($1,712.45);
                                                                                                                12/15/2023
                                                                                                                ($1,711.74);
                                                                                                                12/29/2023
                                                                                                                ($1,711.74);
                                                                                                                1/12/2024
                                                                                                                ($1,714.25);
                                                                                                                1/26/2024
                                                                                                                ($1,712.82);
                                                                                                                2/9/2024
                                                                                                                ($1,712.82);
                                                                                                                2/23/2024
                                                                                                                ($1,712.82);
                                                                                                                3/8/2024
                                                                                                                ($1,712.82);
                                                                                                                3/22/2024
                                                                                                                ($1,712.82);
                                                                                                                4/5/2024
                                                                                                                ($1,708.25);
                                                                                                                4/19/2024
                                                                                                                ($1,708.25);
                                                                                                                5/3/2024
                                                                                                                ($1,708.25);
                                                                                                                5/17/2024
                                                                                                                ($1,708.14);
                                                                                                                6/3/2024
             Ryan Wear                                                                                          ($1,708.14);
             2732 Grand Ave., Ste. 122                                                                          and 6/17/2024
             Everett, WA 98201                        $32,511.22                                                ($1,708.91)         Payroll.

             Relationship to debtor
             Former CEO, Manager, and
             Member.


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 12




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Debtor      Refreshing USA, LLC                                                                 Case number (if known) 24-01863-11




          No
      Yes. Identify below.
   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

          No
      Yes. Identify below.
   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         November 22, 2024

/s/ Brian Weiss                                                 Brian Weiss
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Chief Restructuring Officer (Force Ten
                                     Partners, LLC)

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 13




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